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My name is Joseph Ayeni and I hereby declare as follows:

l, I have personal knowledge of the matters stated herein and would testify to the same if
called as a witness in Court.

2. I am over eighteen years of age and am otherwise competent to testify.

3. I currently live in Philadelphia County, Pennsylvania. My current address is: 918 N.
Farson Street, Philadelphia, PA 19131.

st. I am a registered voter at my current address.

5. Iam a 77-year-old Black man.

6. In the November 2020 general election, I originally completed and returned to election
officials in my county a mail-in ballot in mid-October.

7. This ballot was rejected because I failed to include the secrecy envelope to seal my ballot.
8. I learned that this ballot was rejected because elections officials called me the day before
Election Day to let me know that the ballot would not count.

9. After learning that my first ballot was not accepted, I went to the elections office so I
could understand what was going on. The elections officials showed me an example of the
required secrecy envelope, but this envelope was not included with my mail-in ballot.

10. The officials told me to vote in person. Therefore, on Election Day, I cast a provisional
ballot at my local polling place.

11. It would undermine my fundamental right to vote if my ballot were invalidated. I have
been a registered voter for over forty years and I vote regularly.

12. Tama member of the NAACP of Pennsylvania.
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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury, under the laws of the

United States, that the foregoing is true and correct to the best of my knowledge.

Executed on November 10, 2020 in Philadelphia, Pennsylvania.

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Joseph Ayeni (]
